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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
v.                                                 §           4:23-mc-01644
                                                   §
JETALL COMPANIES, INC. AND                         §
MOHAMMED ALI CHOUDHRI,                             §
     Respondents                                   §           JUDGE: Hon. Lee H. Rosenthal


 RESPONDENTS’ ASSERTION OF FIFTH AMENDMENT RIGHTS AGAINST SELF-
                    INCRIMINATION (DOJ 12 U.S.C. 1388a(g) subpoenas)



TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Jetall Companies, Inc. (Jetall). and Mohammed Ali Choudhri (Choudhri),

Respondents in the above styled and numbered cause, and assert their Fifth Amendment rights

against self-incrimination and requests relief from various DOJ subpoenas, and would show the

Court as follows:

                           I. The DOJ subpoenas – 12 U.S.C. 1388a(g)

       DOJ has issued several subpoenas for documents to Respondents, requesting a large

swath of documents relating to bank loans, real estate transactions, communications, ledgers, etc.

The statutory basis for the DOJ subpoenas is 12 U.S.C. 1388a(g), with foundational requirements

all of which are for violations federal bank fraud and financial fraud criminal statutes, with

penalties ranging from five (5) to thirty (30) years imprisonment and up to $1,000,000.00 fine.

See, generally 12 U.S.C. 1388a(g)1



1 (c)VIOLATIONS TO WHICH PENALTY IS APPLICABLE This section applies to a violation of, or a
conspiracy to violate—
(1) section 215, 656, 657, 1005, 1006, 1007, 1014, or 1344 of title 18;



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                             II. Incrimination by ―act of production‖

       The US Supreme Court has long recognized that the mere ―act of production‖ of

documents can be testimonial in nature. E.g., Fisher v. United States, 425 U.S. 391, 96 S.Ct.

1569, 48(1976). Respondents hereby assert their Fifth Amendment rights against self-

incrimination be the production of documents pursuant to the DOJ subpoena. Respondents

request that the DOJ subpoena be quashed for all documents and items that constitute ―act of

production‖ incrimination.

                                              PRAYER

               FOR THESE REASONS, Respondents pray that the Court grant all relief

requested herein. Respondents request an oral hearing on this motion. Respondents pray for any

other relief to which they may be entitled.


                                                    Respectfully submitted,


                                                    Respectfully submitted,


                                                    ___/s/__Lance Nguyen________________
                                                    Lance Nguyen
                                                    SBN 24010266
                                                    Fed ID # 23863
                                                    6001 Savoy, #120
                                                    Houston, TX 77036
                                                    Tel: (713) 577-9654
                                                    Fax: (281) 786-3379




(2) section 287, 1001, 1032,[1] 1341 or 1343 of title 18 affecting a federally insured financial
institution; or
(3) section 645(a) of title 15.




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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing pleading has been served

upon all counsel of record hereto via CM/ECF electronic filing, on November 6, 2024.


                                                  ___/s/__Lance Nguyen________________
                                                  Lance Nguyen




                                    EXHIBIT AA-15
